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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
11   JAMES LEE,                                     CV 19-5275 PA (AFMx)

12                 Plaintiff,                       JUDGMENT
13          v.
14   GREY BLOCK PIZZA, INC. et al.,
15                 Defendants.
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18          Pursuant to the Court’s September 27, 2019 Minute Order dismissing this action for
19   failure to prosecute and failure to comply with the Court’s orders,
20          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that this action is
21   dismissed without prejudice.
22          IT IS SO ORDERED.
23
24   DATED: September 27, 2019                         _________________________________
                                                                  Percy Anderson
25                                                       UNITED STATES DISTRICT JUDGE
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